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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov


IN RE:                                                       CASE NO. 14-12147-BKC-JKO

RALPH SANDERS,                                               In proceedings under Chapter 13
                                                             BROWARD DIVISION
            Debtor.
_______________________________/


ANY INTERESTED PARTY WHO FAILS TO FILE AND SERVE A WRITTEN RESPONSE TO
THIS MOTION WITHIN 14 DAYS AFTER SERVICE OF THIS MOTION SHALL, PURSUANT
  TO ADMINISTRATIVE ORDER 2013-1, BE DEEMED TO HAVE CONSENTED TO THE
        ENTRY OF AN ORDER IN THE FORM ATTACHED TO THIS MOTION


              ATTORNEY-REPRESENTED DEBTOR’S VERIFIED MOTION FOR
                    REFERRAL TO LOSS MITIGATION MEDIATION

         The above-referenced Debtor requests the Court enter an Order of Referral to Loss

Mitigation Mediation (“Order”) referring Debtor and WELLS FARGO HOME MORTGAGE

(“Lender”) to loss mitigation mediation (“LMM”) and states as follows:

         1.    Debtor is an individual who has filed for bankruptcy relief under, or converted to,

               chapter   13    on January 29, 2014 .

         2.     Debtor requests LMM for real property (“Property”) located at:

               561 SW 60 Ave, Plantation FL 33317 account number 7080143369122 .

               a. The property consists of 4 units or less and is (check one):

                      XX The Debtor’s primary residence

                          not the Debtor’s primary residence

               b. Borrowers obligated on the promissory note and mortgage on the property are

               (check one)

                      XX Debtor only

                          Debtor and non-filing co-obligor/co-borrower/third partY
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            Contact information for co-obligor/co-borrower/third party:

            Name:
            Address:
            Phone Number:
            Email:

                Other:

     c. If applicable, Debtor’s attorney has simultaneously filed with this Motion the

     LMM Local Form “Consent to Attend and Participate in Loss Mitigation

     Mediation” signed by each co-obligor/co-borrower/third party listed above.

3.   Debtor intends to (check all that apply):

            XX modify the mortgage on the Debtor’s primary residence (chapter 11,

            12 or 13 only)

                modify the mortgage on property that is not the Debtor’s primary

            residence (chapter 13 only)

                surrender the property to the Lender.

4.   Prior to filing this motion, the Debtor’s attorney processed and uploaded Debtor’s

     information using the Court-approved on-line program that facilitates the

     preparation of the Debtor’s loan modification package (Document Preparation

     Software”). Debtor’s initial loan modification forms have been generated and are

     ready for signature and submission. Debtor’s attorney has also collected all of

     the required supporting documentation as required by the Document Preparation

     Software (such documentation and forms referred collectively to as “Debtor’s

     Prepared Package”) and is prepared to submit the supporting documentation

     along with the modification forms.

5.   Prior to filing this Motion, Debtor’s attorney has determined that:

     XXX     Lender is registered with the approved loss mitigation portal (“LMM

            Portal”). The Debtor’s attorney will upload to the LMM Portal, Debtor’s
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            Prepared Package together with any additional forms or documents which

            Lender may post on the LMM Portal, within seven days after entry of the

            Order.

            Lender is not registered. Debtor requests the Court to require Lender to

            register with the LMM Portal within seven days after the entry of the

            Order. Debtor’s attorney will upload to the LMM Portal, Debtor’s Prepared

            Package together with any additional forms or documents which Lender

            may post on the LMM Portal, within seven days after the Lender has

            registered.

6.   Debtor requests Lender consider (check all that are applicable):

            XX a HAMP or government sponsored loan modification (chapter 11, 12

            or 13 only)

            XX a conventional loan modification (chapter 11, 12 or 13 only)

                a deed in lieu of foreclosure (chapter 7 or 13 only)

                a state court consent in rem final judgment if foreclosure (chapter 7 or

            13 only)

                surrender incentives (chapter 7 or 13 only)

            XX other: any program available to modify mortgage. Reduce principal

            and/or reduce interest rate and/or reduce regular monthly payment

7.   IF DEBTOR IS REQUESTING NON-RETENTION (SURRENDER) OPTIONS:

     a. Debtor will submit all additional documents required for a surrender as

     provided for on the LMM Portal.

     b. The Debtor represents that the property has been listed for sale.

8.   Prior to filing this motion, Debtor remitted to Debtor’s attorney the required non-

     refundable LMM Portal submission fee in the amount of $25.00 and the required

     non-refundable Document Preparation Software fee in the amount of $40.00 for a
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      total fee of $65.00 dollars.

9.    Prior to filing this motion, Debtor remitted the required Mediator’s fee in the

      amount of $300.00 to Debtor’s attorney, unless the Debtor is seeking pro bono

      mediation under paragraph 12. Debtor understands and acknowledges the

      Mediator’s fee is not refundable for any reason at any time.

10.   Debtor’s attorney will remit the LMM Portal fee directly to the LMM Portal within

      seven days of the Order and upload the required documents as set forth in

      paragraph 5.

11.   Debtor’s attorney:

             XX will forward the Mediator’s fee directly to the Mediator within seven

             days after entry of the Order; OR

                  represents that the Debtor requests he/she be considered as a

             candidate for pro bono mediation because the Debtor’s undersigned

             attorney is representing the Debtor pro bono, or Debtor’s income is less

             than 150% able the poverty level (see attached calculation).

12.   Debtor consents to Lender communicating directly with Debtor’s attorney for any

      and all aspects of the loss mitigation mediation program.

13.   Debtor requests the Court appoint the following Mediator:

      MEDIATOR’S NAME: Maylene Abad

      ADDRESS: 4770 Hollywood Blvd, Hollywood, FL 33021

      TELEPHONE: 954-801-6749

      EMAIL ADDRESS:           may6995@aol.com

14.   Debtor’s attorney has emailed a copy of this motion directly to the requested

      mediator at the email address listed above.

15.   Debtor’s attorney will upload the Order to the LMM Portal as part of the

      submission of Debtor’s documentation.
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WHEREFORE, Debtor requests that the Verified Motion be granted and for such other

and further relief as this Court deems proper.
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                              DEBTOR’S VERIFICATION



Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury the foregoing is true and correct

on July 8, 2014



                                             /s/ RALPH SANDERS
                                             Debtor


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Debtor’s Verified Motion for

Referral to Loss Mitigation Mediation was served by U.S., first class mail, upon the parties listed

below on July 9, 2014 , and also by email to the Mediator identified above.




                                                     /S/ROBERT BIGGE
                                                     Robert Bigge, Esq.
                                                     FBN 906610
                                                     915 Middle River Dr #401
                                                     Fort Lauderdale, FL 33304
                                                     954-400-7322/ 954-400-5449
                                                     brpa@biggerodriguez.com
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Copies to:


Ralph Sanders
561 SW 60 Ave
Plantation, FL 33317

Maylene Abad
4770 Hollywood Blvd
Hollywood, Florida 33021


Wells Fargo Bank, N.A.
Attention: Bankruptcy Dept.
MAC D3347-014
3476 Stateview Blvd.
Fort Mill, SC 29715


Wells Fargo Hm Mortgage
8480 Stagecoach Cir
Frederick, MD 21701
